         Case: 24-3321    Document: 25       Page: 1    Date Filed: 03/20/2025



        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                       DCO-077
                                       No. 24-3321

                                    PETER PATAKI,
                                        Appellant

                                            v.

                                 WALMART, INC., et al.

                                (D.N.J. No. 1:16-cv-01109)

Present: CHUNG, Circuit Judge

      1. Motion filed by Appellant Peter Pataki for Extension of Time to file
         Appellant's Brief and Appendix until/for 45 day extension from 3/31/25; and

      2. Response filed by Appellees Wal Mart Stores I LP, Wal Mart Stores Inc,
         WalMart Inc, Walmart Store Number 5447, WalMart Stores East Inc and
         WalMart Stores Inc to motion for extension of time.



                                                       Respectfully,
                                                       Clerk/amr

_________________________________ORDER________________________________
       The foregoing motion is GRANTED. Appellant’s brief and appendix are due on
May 15, 2025. Any further extension request must be submitted by May 1,
2025. Counsel is reminded that all requirements of L.A.R. 31.4 must be met should
further extensions be requested (“Subsequent requests for an extension of time must be
made in writing and will be granted only upon of a showing of good cause that was not
foreseeable at the time the first request was made.”) (emphasis added).


                                                       By the Court,

                                                       s/ Cindy K. Chung
                                                       Circuit Judge

Dated: March 20, 2025
Amr/cc: All counsel of record
